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                                 UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF PENNSYLVANIA

                                                       :
HARRIET LIPSCHULTZ,
                                                       :
                             Plaintiff,                :    CASE NO.: 13-CV-06718-TON
                                                       :
         v.                                            :
                                                       :
HOLY FAMILY UNIVERSITY,                                :
                                                       :
                             Defendant.                :

                ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT
                HOLY FAMILY UNIVERSITY TO PLAINTIFF’S COMPLAINT

         Defendant Holy Family University (“Holy Family” or “Defendant”), by and through its

undersigned attorneys, hereby responds to the Complaint filed by plaintiff Harriet Lipschultz

(“Plaintiff”) as follows:

         1.        Upon information and belief, the allegations in this paragraph of Plaintiff’s

Complaint are admitted.

         2.        Denied as stated. By way of further answer, Holy Family is a fully-accredited,

Catholic, private university that is located at 9801 Frankford Avenue, Philadelphia, Pennsylvania

19114.

                                          VENUE AND JURISDICTION

         3.            The allegations in this paragraph of Plaintiff’s Complaint constitute conclusions

of law to which no responsive pleading is required. To the extent that any aspects of this

paragraph of Plaintiff’s Complaint are deemed factual, they are denied.

                                          FACTUAL BACKGROUND

         4.        Upon information and belief, the allegations in this paragraph of Plaintiff’s

Complaint are admitted.



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          5.       Admitted in part and denied in part. It is admitted that Plaintiff has been hired

from time to time since 2002 as a part-time lecturer teaching Introductory Spanish courses in

Holy Family’s School of Arts and Sciences.

          6.       Denied as stated. By way of further answer, Plaintiff has been hired from time to

time between September of 2002 and May of 2012 as a part-time lecturer teaching Introductory

Spanish courses at Holy Family.

          7.       Denied.

          8.       Admitted in part and denied in part. It is admitted that, in March of 2012,

Dr. Michael Markowitz, Dean of Holy Family’s School of Arts and Sciences, notified Plaintiff

that Holy Family would not be offering her courses to teach during the Summer and Fall 2012

semesters. The remaining aspects of this paragraph of Plaintiff’s Complaint are denied.

          9.       Admitted in part and denied in part. It is admitted that Holy Family rotated

teaching opportunities amongst part-time lecturers to ensure the highest quality of instruction to

Holy Family’s students. The remaining aspects of this paragraph of Plaintiff’s Complaint are

denied.

          10.      Denied.

          11.      Denied as stated. By way of further answer, during the Fall semester of 2012,

Holy Family employed 106 part-time faculty in the School of Arts and Sciences.

          12.      The allegations in this paragraph of Plaintiff’s Complaint constitute conclusions

of law to which no responsive pleading is required. To the extent that any aspects of this

paragraph of Plaintiff’s Complaint are deemed factual, they are denied.

          13.      Admitted in part and denied in part. It is admitted that Plaintiff filed a charge

against Holy Family with the Pennsylvania Human Relations Commission, which charge was



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cross-filed with the Equal Employment Opportunity Commission. The remaining aspects of this

paragraph of Plaintiff’s Complaint are denied.

         14.       Denied. The allegations in this paragraph of Plaintiff’s Complaint refer to a

writing, which speaks for itself, and any attempt to paraphrase or mischaracterize its terms is

improper, and, therefore, such allegations are expressly denied. To the extent not otherwise

denied, the remaining allegations in this paragraph of Plaintiff’s Complaint are denied.

         15.       Denied.

         16.       The allegations in this paragraph of Plaintiff’s Complaint constitute conclusions

of law to which no responsive pleading is required. To the extent that any aspects of this

paragraph of Plaintiff’s Complaint are deemed factual, they are denied.

                                          COUNT I
                                  NO VIOLATION OF THE ADEA

         17.       The foregoing paragraphs are incorporated herein by reference as though fully set

forth at length herein.

         18.       The allegations in this paragraph of Plaintiff’s Complaint constitute conclusions

of law to which no responsive pleading is required. To the extent that any aspects of this

paragraph of Plaintiff’s Complaint are deemed factual, they are denied.

         19.       The allegations in this paragraph of Plaintiff’s Complaint constitute conclusions

of law to which no responsive pleading is required. To the extent that any aspects of this

paragraph of Plaintiff’s Complaint are deemed factual, they are denied.

         20.       Denied.

         21.       Denied.

         22.       Denied as stated. By way of further answer, Holy Family did not “replace”

Plaintiff. Part-time lecturers at Holy Family do not have any entitlement or right with respect to


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the assignment of courses. Other individuals on Holy Family’s roster of adjunct instructors were

assigned courses.

         23.       Denied.

         24.       The allegations in this paragraph of Plaintiff’s Complaint constitute conclusions

of law to which no responsive pleading is required. To the extent that any aspects of this

paragraph of Plaintiff’s Complaint are deemed factual, they are denied.

         25.       The allegations in this paragraph of Plaintiff’s Complaint constitute conclusions

of law to which no responsive pleading is required. To the extent that any aspects of this

paragraph of Plaintiff’s Complaint are deemed factual, they are denied.

         WHEREFORE, Defendant Holy Family University denies any and all allegations in

Plaintiff’s “Wherefore” paragraph and demands judgment dismissing Plaintiff’s Complaint and

awarding Holy Family attorneys’ fees and costs, and such other relief as the Court deems just

and proper.

                                        COUNT II
                          NO VIOLATION OF PENNSYLVANIA HUMAN
                                  RELATIONS ACT (PHRA)

         26.       The foregoing paragraphs are incorporated herein by reference as though fully set

forth at length herein.

         27.       The allegations in this paragraph of Plaintiff’s Complaint constitute conclusions

of law to which no responsive pleading is required. To the extent that any aspects of this

paragraph of Plaintiff’s Complaint are deemed factual, they are denied.

         28.       Denied.




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         29.       The allegations in this paragraph of Plaintiff’s Complaint constitute conclusions

of law to which no responsive pleading is required. To the extent that any aspects of this

paragraph of Plaintiff’s Complaint are deemed factual, they are denied.

         30.       The allegations in this paragraph of Plaintiff’s Complaint constitute conclusions

of law to which no responsive pleading is required. To the extent that any aspects of this

paragraph of Plaintiff’s Complaint are deemed factual, they are denied.

         WHEREFORE, Defendant Holy Family University denies any and all allegations in

Plaintiff’s “Wherefore” paragraph and demands judgment dismissing Plaintiff’s Complaint and

awarding Holy Family attorneys’ fees and costs, and such other relief as the Court deems just

and proper.

                                     AFFIRMATIVE DEFENSES

         In further answering Plaintiff’s Complaint, Holy Family hereby asserts the following

defenses:

                                           FIRST DEFENSE

         Plaintiff’s claims are not actionable because the employment decision was justified by

legitimate, non-discriminatory, and non-pretextual business reasons.

                                         SECOND DEFENSE

         Age has no bearing on Holy Family’s assignment of courses to adjunct lecturers.

                                          THIRD DEFENSE

         The decisions on the offering of teaching assignments by the School of Arts and Sciences

were based on reasonable factors other than age.

                                         FOURTH DEFENSE

         Holy Family has not discriminated against Plaintiff in violation of any law.



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                                          FIFTH DEFENSE

         Holy Family and its agents acted reasonably and in good faith at all times material herein

based on all relevant facts and circumstances known by them at the time they so acted.

Accordingly, Plaintiff is barred from any recovery in this action.

                                          SIXTH DEFENSE

         Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver and estoppel.

                                        SEVENTH DEFENSE

         Plaintiff’s claims for relief are barred, in whole or in part, because of her failure to

mitigate any alleged damages.

                                         EIGHTH DEFENSE

         Plaintiff is not entitled to all or some of the damages sought in Plaintiff’s Complaint.

                                          NINTH DEFENSE

         Holy Family intends to rely on or assert such other defenses that may become available

or apparent during the course of discovery in this case, and Holy Family expressly reserves the

right to amend this Answer to assert any and all such defenses.




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         WHEREFORE, Defendant Holy Family University demands judgment dismissing the

Complaint of Plaintiff Harriet Lipschultz and granting Holy Family attorneys’ fees and costs, and

such other relief as the Court deems just and proper.

                                                        Respectfully submitted,

                                                        FISHER & PHILLIPS LLP

Dated: November 22, 2013                        By:             s/ Christin Choi
                                                        J. Freedley Hunsicker, Jr., Esquire
                                                        Christin Choi, Esquire
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                                                        Attorneys for Defendant Holy Family
                                                        University




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                                 CERTIFICATE OF SERVICE

         I, Christin Choi, Esquire, hereby certify that on this 22nd day of November, 2013, a true

and correct copy of the Answer and Affirmative Defenses of Defendant Holy Family University

to Plaintiff’s Complaint was filed and is available for viewing and downloading from the Court’s

ECF system and was served upon the following attorneys via the Court’s ECF system:

                               James S. Lee, Esquire
                               Hamburg, Rubin, Mullin, Maxwell & Lupin
                               375 Morris Road
                               P.O. Box 1479
                               Lansdale, Pennsylvania 19446-0773

                               Attorneys for Plaintiff Harriet Lipschultz




                                                              s/ Christin Choi
                                                      Christin Choi




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